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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        ) No. 4:06CR135 RWS
                                          )
MARK A. ROARK,                            )
                                          )
      Defendant.                          )

                                       ORDER

      This matter is before the Court on defendant Mark A. Roark’s motion to

suppress evidence and statements.

      Pursuant to 28 U.S.C. § 636(b), the motion was referred to United States

Magistrate Judge David D. Noce. On April 21, 2006, defendant appeared in open

court, with counsel, and waived his rights to file pretrial motions and to have a

pretrial hearing. Thereafter Judge Noce filed his Order and Recommendation and

recommended that the defendant’s motion be denied as moot.

      Accordingly,

      IT IS HEREBY ORDERED that the Order and Recommendation of the

United States Magistrate Judge [#75] is SUSTAINED, ADOPTED, and

INCORPORATED herein.
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      IT IS FURTHER ORDERED that defendant's motion to suppress evidence

and statements [#57] is denied as moot.



                                        _______________________________
                                        RODNEY W. SIPPEL
                                        UNITED STATES DISTRICT JUDGE


Dated this 3rd day of May, 2006.




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